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               IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                               NO.   4:05CR00305-012 SWW

LUETTA FAYE GARNETT




                                  ORDER

      This matter came on for hearing on the government’s motion for

revocation of the conditions of pretrial release for violations of the

terms of her conditions of release.        Based upon statements made by

defense counsel that defendant does not contest the revocation issue and

because the crime to which defendant previously entered a guilty plea is

such that the law requires her to be detained pursuant to 18 U.S.C.

§3143, the Court found that defendant’s bond should be revoked.

      IT IS THEREFORE ORDERED that the government’s motion is granted and

defendant’s release hereby is terminated.     Defendant shall be taken into

custody immediately by the United States Marshal to be detained pending

sentencing in this matter.

      IT IS SO ORDERED this 11th day of October, 2006.



                                          /s/Susan Webber Wright


                                          UNITED STATES DISTRICT JUDGE
